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                       IN THE UNITED STATES BANKRUPTCY COURT

                      FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


In re:                                                        Bankr. Case No. 09-22584
                                                                     Chapter 11
WATERFORD FUNDING, LLC et al.,                               (Substantively Consolidated)

          Debtors.                                          The Honorable R. Kimball Mosier


GIL A. MILLER, Chapter 11 Trustee for                        Adv. Proceeding No. 11-02084
WATERFORD FUNDING, LLC, WATERFORD
SERVICES, LLC, WATERFORD LOAN FUND,
LLC, WATERFORD PERDIDO, LLC,
WATERFORD CANDWICH, LLC and
INVESTMENT RECOVERY, LLC,

         Plaintiff,

v.

BRENT WOODSON,

         Defendant.

                                    NOTICE OF DISMISSAL



4824-7691-8794\1
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       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), made applicable to this adversary proceeding

by Fed. R. Bankr. P. 7041, Plaintiff Gil A. Miller, as the Chapter 11 Trustee for Waterford

Funding, LLC et al., hereby dismisses the above-captioned adversary proceeding.

       The parties to this adversary proceeding will bear their own costs related to all actions

taken in this proceeding.

       DATED this 21st day of August, 2011.

                                             DORSEY & WHITNEY LLP

                                             /s/ Nathan S. Seim
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                                              Chapter 11 Trustee




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